Case 1:06-cv-02241-ZLW Document 21 Filed 04/20/07 USDC Colorado Page 1of3

IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF COLORADO

Civil Action No. 06-cv-02241-BNB us eh
DENVER, COLORA RG OURT
APR 96
Plaintiff, ee a
AL ea ey C. LANGHAM
- CLERK

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ALBERTO R. GONZALES, United States Attorney General,
MICHAEL CHERTOFF, Secretary of Homeland Security,

DOUGLAS MAURER, USICE Field Office Director for Colorado,
FREDERICK WEGENER, Sheriff of Park County, and

LT. DANIEL MULDOON, Park County Detention Center Administrator,

Defendants.

 

ORDER DISMISSING CASE

 

Plaintiff Jon Vaupel has filed pro se on April 13, 2007, “Petitioners Motion to
Withdraw and Dismiss Without Prejudice.” The Court must construe the motion
liberally because Mr. Vaupel is representing himself. See Haines v. Kerner, 404 US.
519, 520-21 (1972); Hall v. Bellmon, 935 F.2d 1106, 1110 (10" Cir. 1991). The Court
will construe the motion as a notice of voluntary dismissal pursuant to Rule 41(a)(1) of
the Federal Rules of Civil Procedure.

Rule 41(a)(1) of the Federal Rules of Civil Procedure provides that “an action
may be dismissed by the plaintiff without order of court (i) by filing a notice of dismissal
at any time before service by the adverse party of an answer or of a motion for
summary judgment.” No response has been filed by Defendants in this action. A

voluntary dismissal pursuant to Rule 41(a)(1) is effective immediately upon the filing of
Case 1:06-cv-02241-ZLW Document 21 Filed 04/20/07 USDC Colorado Page 2 of 3

a written notice of dismissal, and no subsequent court order is necessary. See J.
Moore, Moore’s Federal Practice J 41.02(2) (2d ed. 1995); Hyde Constr. Co. v.
Koehring Co., 388 F.2d 501, 507 (10" Cir. 1968). The notice closes the file. See
Hyde Constr. Co., 388 F.2d at 507. Accordingly, it is

ORDERED that “Petitioners Motion to Withdraw and Dismiss Without Prejudice”
filed on April 13, 2007, is construed as a notice of voluntary dismissal without prejudice
pursuant to Fed. R. Civ. P. 41(a)(1). Itis

FURTHER ORDERED that the voluntary dismissal is effective as of April 13,
2007, the date the notice was filed in this action. It is

FURTHER ORDERED that judgment is entered in favor of Defendants and
against Plaintiff. ,

DATED at Denver, Colorado, this 1? day of , 2007.

BY THE COURT:

 

 

ZA L. WEINSHIENK, Senior Judge
nited States District Court
Case 1:06-cv-02241-ZLW Document 21 Filed 04/20/07 USDC Colorado Page 3 of 3

IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF COLORADO

CERTIFICATE OF MAILING

Civil Action No. 06-cv-02241-BNB

Jon Vaupel

cio K & P Maczkowiack
11 Cedar Dr.

Dunoon, N.S.W. 2480
Australia

| hereby, certify that | have mailed a copy of the ORDER to the above-named
individuals on_1|4

GREGORY C.\LANGHAM, CLERK

“—~" Deputy Clerk
